            Case 1:18-cv-00295-LY Document 23 Filed 06/05/18 Page 1 of 2




                               UNITED STATES DISTRICT COURT
   JEANNETTE J.                 WESTERN DISTRICT OF TEXAS                                 PHILIP J. DEVLIN
      CLACK                          501 West 5th Street, Suite 1100                       CHIEF DEPUTY
  CLERK OF COURT
                                         Austin, Texas 78701
                                              June 5, 2018




Nandan Joshi
Consumer Financial Protection Bureau
1700 G Street, NW
Legal Division
Washington, DC 20552

       Re: Community Financial Services et al. v. Consumer Financial Protection Bureau et al.
       Case Number: 1:18-cv-295 LY

Dear Mr. Joshi,

       The records of this office indicate that you are not admitted to practice in this court.

        Local District Court Rule AT-1(f)(1) states: “An attorney who is licensed by the highest
court of a state or another federal district court, but who is not admitted to practice before this court,
may represent a party in this court pro hac vice only by permission of the judge presiding....”

        If you intend to represent a party in this case, you must submit to this court a Motion
to Appear pro hac vice within ten days of the date of this letter. You can locate a copy of the
motion on our website at
http://www.txwd.uscourts.gov/Rules/StandingOrders/Austin/AustinProHacVice.pdf
The motion must contain an original signature by the attorney seeking to be admitted pro hac vice.
Pro hac vice motions signed by one attorney for another attorney will not be granted. If you are an
attorney who maintains your office outside of this district, the Judge may require you to designate
local counsel as co-counsel (Local Rule AT-2).

        Please be sure to review the Local Rules for the Western District of Texas before you submit
your motion, especially Local Rules CV-5 (Pleadings & Filing Papers), CV-7 (Motions), CV-10
(Form of Pleadings), and AT-1(f)(1) and AT-(f)(2) (Pro hac vice requirements), and standing
orders for the Austin Division. For your convenience, a complete copy of the Local Rules for the
Western District of Texas and various forms can be downloaded from our website.

        Please be advised that the Clerk no longer automatically adds non-admitted attorneys
to a case. Thus, non-admitted attorneys will not receive orders or notices (which may include
deadlines, hearing dates, etc.) filed in their case. The Clerk will only add said attorneys to the
case upon the granting of a Motion to Appear pro hac vice.
     Case
If you have1:18-cv-00295-LY      Document
            any questions regarding the above23  Filed 06/05/18
                                              information, please doPage  2 of 2 to call.
                                                                     not hesitate

                                     Sincerely,

                                     Deanna Massie
                                     Deputy Clerk
